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                                NEVIN L. YOUNG
                                Attorney at Law
                                170 West Street
                            Annapolis, Maryland 21401
                                 410-353-9210
                         nyoung@burlingtonyounglaw.com

                                 November 30, 2020

Via Email
The Hon. Paula Xinis
United States District Court
6500 Cherrywood Lane
Greenbelt, Maryland 20770

      Re:    Collins et al. v. Tri-State Zoological Park of Western Maryland, Inc., et
             al./ Case No. PX-20-1225/Briefing on Certification of Question to
             Maryland Court of Appeals

Dear Judge Xinis:

      This letter is submitted pursuant to this Court’s letter order of November 12,
2020, docketed at ECF 23.

        The Defendants believe the underlying legal merits of this matter have been
thoroughly briefed, and neither Plaintiffs not Defendants have been able to locate
any court, state or federal, that has extended standing or recognized a cause of
action for public nuisance under the particular situation stated in the Plaintiffs’
complaint. The questions of both particularized injury and geographical remoteness
militate against any extension of public nuisance doctrine to Plaintiffs. Therefore
this letter will expand no further upon the merits of the underlying arguments.

      Due to reasons of both judicial economy and state sovereignty, the
Defendants urge certification of this question to the Maryland Court of Appeals. As
previously noted in the Defendants’ Motion to Dismiss, ““[A] federal court in the
exercise of its diversity jurisdiction should act conservatively when asked to predict
how a state court would proceed on a novel issue of state law.” Rhodes v. E.I. DuPont
Nemours & Co., 636 F.3d. 88 at 97-98 (4th Cir. 2011), citing to Day & Zimmermann,
423 U.S. at 4, 96 S.Ct. 167. (1975).

      If this Court were either to dismiss this case or allow it to proceed under the
present posture, it appears likely that the Fourth Circuit Court of Appeals would

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eventually be required to resolve the matter, at the cost of additional time and
expense to all parties. However, a panel sitting for that Court would be no better
situated to predict how the Maryland Court of Appeals would resolve the matter.
Ultimately, decisions as to the expansion or extension of existing common law
doctrines should be referred to the Maryland Court of Appeals.

       It would be quite unfortunate, and a miscarriage of justice, if this Court should
decide the question in a manner that is later contradicted by subsequent cases
decided by the Maryland Court of Appeals. On the other hand, having this question
resolved by the Court of Appeals now would moot any possibility of the question
later reappearing.

                                       Maryland Rules

       For ease of reference, the following is the text of the Maryland Rules related
to the certification of a question before the Court of Appeals:

             RULE 8-305. CERTIFICATION OF QUESTIONS OF LAW TO
             THE COURT OF APPEALS

             (a) Certifying Court. “Certifying court” as used in this Rule
             means a court authorized by Code, Courts Article, § 12-603
             to certify a question of law to the Court of Appeals of
             Maryland.

             (b) Certification Order. In disposing of an action pending
             before it, a certifying court, on motion of any party or on its
             own initiative, may submit to the Court of Appeals a
             question of law of this State, in accordance with the
             Maryland Uniform Certification of Questions of Law Act, by
             filing a certification order. The certification order shall be
             signed by a judge of the certifying court and state the
             question of law submitted, the relevant facts from which
             the question arises, and the party who shall be treated as
             the appellant in the certification procedure. The original
             order and seven copies shall be forwarded to the Court of
             Appeals by the clerk of the certifying court under its official
             seal, together with the filing fee for docketing regular
             appeals, payable to the Clerk of the Court of Appeals.

             (c) Proceeding in the Court of Appeals. The filing of the
             certification order in the Court of Appeals shall be the
             equivalent of the transmission of a record on appeal. The

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             Court of Appeals may request, in addition, all or any part of
             the record before the certifying court. Upon request, the
             certifying court shall file the original or a copy of the parts
             of the record requested together with a certificate, under
             the official seal of the certifying court and signed by a judge
             or clerk of that court, stating that the materials submitted
             are all the parts of the record requested by the Court of
             Appeals.

             (d) Decision by the Court of Appeals. The written opinion
             of the Court of Appeals stating the law governing the
             question certified shall be sent by the Clerk of the Court of
             Appeals to the certifying court. The Clerk of the Court of
             Appeals shall certify, under seal of the Court, that the
             opinion is in response to the question of law of this State
             submitted by the certifying court.

                                     Proposed Questions

       Because a complete set of alleged facts as set forth in the Complaint, and the
previous legal arguments, may be useful to the Court of Appeals, the Defendants
urge that the Complaint, Motion to Dismiss, Memorandum in Opposition to the
Motion to Dismiss, and Reply to the Opposition be submitted along with the
following proposed questions (the second of which only resolution if the answer to
the first is in the affirmative):

       1.     Does a cause of action and/or standing under the common law of
public nuisance exist in a suit brought by private, non-governmental parties based
upon alleged criminal wrongdoing at a privately owned zoological park located in
the State of Maryland?

       2.     If such a cause of action may exist, may such a claim under public
nuisance doctrine be stated by a private citizen who lives in New Jersey and has only
visited the zoological park on one occasion, and has stated no intention to return, or
by an animal rights organization headquartered in Norfolk, Virginia?

      As noted above, it appears that this Court may summarize certain facts
further for the Court of Appeals, but to avoid any ambiguity or questions arising
over the wording of such summary of facts, the Defendants believe the matter would
best be presented in the same form as presented before this Court, (that is,
complaint, motion to dismiss, opposition and reply), which would also be the same
form that the Court of Appeals would face upon de novo review had this matter
come from a Maryland state court.

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       Maryland Rule 8-305(b) also provides that one party is to be designated as
the Appellant in such a proceeding. Without drawing any inferences as to the way in
which this Court would rule in the absence of certification, Defendants propose that
the Plaintiffs be designated as Appellants if the question is presented to the
Maryland Court of Appeals, since the resolution of the question against the Plaintiffs
would appear to be dispositive as to this litigation, whereas a resolution in Plaintiffs’
favor would result in the litigation continuing.

      In summary, the Defendants urge that the matter be submitted to the
Maryland Court of Appeals and that the facts as set forth in the complaint, and the
various arguments raised in the motion to dismiss, opposition, and reply, be
submitted in as close to original form as possible.

                                                Very Truly Yours,

                                                s/Nevin L. Young

                                                Nevin L. Young




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